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                                 UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF GEORGIA
                                           ATLANTA DIVISION



UNITED STATES OF AMERICA                                            Case No.      1: 14-cr-0026-AT-2


-vs-


Nicholas Anthony Narbone                                            Defendant's Attorney:
                                                                    Octavio Gustavo Padron



                                  JUDGMENT IN A CRIMINAL CASE
                        (For Offenses Committed On or After November 1, f987)

The defendant pleaded guilty to Count 1 of the Information with waiver of Indictment.

Accordingly, the defendant is adjudged guilty of such count which involves the following offense:

Title & Section                   Nature of Offense                                       Count No.

18 USC§ 371                       Conspiracy to Commit Criminal Copyright                      1
                                  Infringement

The defendant is sentenced as provided in pages 2 through 5 of this judgment. The sentence is imposed
pursuant to the Sentencing Reform Act of 1984.

It is ordered that the defendant shall pay the special assessment of $100 which shall be due immediately.

IT IS FURTHER ORDERED that the defendant shall notify the United States attorney for this district within
thirty days of any change of name, residence, or mailing address until all fines, restitution, costs and special
assessments imposed by this judgment are fully paid.

Defendant's Soc. Sec. No.         XXX-XX-1252               Date of Imposition of Sentence: March 15, 2018
Defendant's Date of Birth:        1987
Defendant's Mailing Address:      5510 Genoa Lane
                                  Orlando, FL 32807
                    ,,,,....._..
Signed this the   J � day of March, 2018.


                                                                                                   TJUDGE
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                                             IMPRISONMENT


The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned
for a term of 1 YEAR AND 1 DAY.


The Court recommends the defendant be incarcerated in the lowest security facility available that is as close
to Orlando, FL as possible, as he has a wife and two children, including a newborn, in the Orlando area.

The Court recommends that the defendant be released to a halfway house within 6 months of his projected
release date.


The Court further recommends that full mental health and substance abuse treatment be made available to
the defendant while he is incarcerated.

The Defendant shall surrender to the United States Marshal for this district on a date to be determined by the
United States Marshals or Bureau of Prisons which shall be no earlier than August 15, 2018.




                                                  RETURN

I have executed this judgment as follows:




Defendant delivered on                                     to



at   ------                                                  ·with a certified copy of this judgment.



                                                                            UNITED STATES MARSHAL



                                                                By:
                                                                                        Deputy U. S. Marshal
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                                           SUPERVISED RELEASE


Upon release from imprisonment, the defendant shall be on supervised release for a term of 30 MONTHS.
If the defendant is in compliance with all the terms of his supervised release, the Probation Officer may
recommend termination of the supervised release after 18 months.

While on supervised release, the defendant shall not commit another federal, state or local crime and shall
not illegally possess a controlled substance. The defendant shall comply with the standard and special
conditions that have been adopted by this court (set forth below). If this judgment imposes a restitution
obligation, it shall be a condition of supervised release that the defendant pay any such restitution that remains
unpaid at the commencement of the term of supervised release. The defendant shall comply with the
following additional conditions:

The defendant shall not possess a firearm as defined in 18 USC§ 921.

The defendant shall report in person to the probation office in the district to which the defendant is released
within 72 hours of release from the custody of the Bureau of Prisons.

                                           SPECIAL CONDITIONS


Pursuant to 42 U.S.C. § 14135a(d)(1) and 10 U.S.C. § 1565(d), which requires mandatory DNA testing for
federal offenders convicted of felony offenses, the defendant shall cooperate in the collection of DNA as
directed by the probation officer.

The defendant shall not own, possess or have under his control any firearm, dangerous weapon or other
destructive device.

The defendant shall submit to one drug urinalysis within 15 days after being placed on supervision and at least
two periodic tests thereafter.

The defendant shall not illegally possess a controlled substance.

The defendant shall complete a drug/alcohol evaluation and complete any recommended treatment, under
the guidance and supervision of the United States Probation Officer.

The defendant shall complete a mental health evaluation and complete any recommended treatment/
counseling, under the guidance and supervision of the United States Probation Officer.

The defendant shall submit his person, property, house, office, residence, vehicle, papers, computer (as
defined in 18 U.S.C.§ 1030(e)(1 )) or other electronic communication or data storage devices or media, and
effects, to search conducted by a U.S. Probation Officer with reasonable suspicion concerning a violation of
a condition of probation or unlawful conduct by the person. Failure to submit to a search may be grounds for
revocation. The defendant shall warn any other residents that the premises may be subject to searches
pursuant to this condition. The defendant shall permit confiscation and/or disposal of any material considered
contraband or any other item which may be deemed to have evidentiary value related to violations of
supervision.

The defendant shall perform 50 hours of community service under the guidance and supervision of the U.S.
Probation Officer. The nature of this service shall build upon the nature of the defendant's skills in the
computer industry. An example of such possible service include teaching/coaching children.
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                             STANDARD CONDITIONS OF SUPERVISION

While the defendant is on supervised release pursuant to this judgment, the defendant shall not commit
another federal, state or local crime. In addition:

1.     The defendant shall not leave the judicial district without the permission of the court or probation
       officer;

2.     The defendant shall report to the probation officer as directed by the court or probation officer and
       shall submit a truthful and complete written report within the first five days of each month;

3.     The defendant shall answer truthfully all inquiries by the probation officer and follow the instructions
       of the probation officer;

4.     The defendant shall support his or her dependents and meet other family responsibilities;

5.     The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
       schooling, training, or other acceptable reasons;

6.     The defendant shall notify the probation officer within 72 hours of any change in residence or
       employment;

7.     The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,
       distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to
       such substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests
       as directed by the probation officer to determine the use of any controlled substance;

8.     The defendant shall not frequent places where controlled substances are illegally sold, used,
       distributed, or administered;

9.     The defendant shall not associate with any persons engaged in criminal activity, and shall not
       associate with any person convicted of a felony unless granted permission to do so by the probation
       officer;

10.    The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
       shall permit confiscation of any contraband observed in plain view by the probation officer;

11.    The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
       law enforcement officer;

12.    The defendant shall not enter into any agreement to act as an informer or a special agent of a law
       enforcement agency without the permission of the court;

13.    As directed by the probation officer, the defendant shall notify third parties of risks that may be
       occasioned by the defendant's criminal record or personal history or characteristics, and shall permit
       the probation officer to make such notifications and to confirm the defendant's compliance with such
       notification requirement.
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                                                        FINE

    The Court finds that the defendant does not have the ability to pay a fine and cost of incarceration. The Court
    will waive the fine and cost of incarceration in this case.
